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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  REALTIME DATA, LLC,                            §
                                                 §
         Plaintiff,                              §
                                                 §
  v.                                             §              Civil No. 6:08-cv-144-LED-JDL
                                                 §
  PACKETEER, INC.,                               §
  BLUE COAT SYSTEMS, INC.,                       §
  CITRIX SYSTEMS, INC.,                          §                 JURY TRIAL DEMANDED
  EXPAND NETWORKS, INC.,                         §
  F5 NETWORKS, INC.,                             §
  7-ELEVEN, INC.,                                §
  ABM INDUSTRIES, INC.,                          §
  ABM JANITORIAL SERVICES –                      §
       SOUTH CENTRAL, INC.,                      §
  AVERITT EXPRESS, INC.,                         §
  BUILD-A-BEAR WORKSHOP, INC.,                   §
  DHL EXPRESS (USA), INC.,                       §
  INTERSTATE BATTERY SYSTEM OF                   §
       AMERICA, INC., AND                        §
  O’REILLY AUTOMOTIVE, INC.,                     §
                                                 §
         Defendants.                             §


                                    ORDER OF DISMISSAL

         CAME ON to be heard, Plaintiff Realtime Data, LLC D/B/A IXO and Defendant Citrix

  Systems, Inc.’s Stipulation and Order of Dismissal (Doc. No. 850), and the Court, after review of

  the subject Stipulation, it is hereby ORDERED that said Stipulation is in all things GRANTED.

  It is FURTHER ORDERED that this action, including the amended complaint, answers and

  counterclaims, be DISMISSED with prejudice, pursuant to the Settlement and License Agreement

  dated January 7, 2010 executed by the parties, the terms of which shall remain confidential, as



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  provided in the Settlement and License Agreement.

         It is FURTHER ORDERED that this Court shall retain continuing jurisdiction over the

  parties and the subject matter to enforce the aforesaid Settlement and License Agreement; and it is

  FURTHER ORDERED that each party shall bear its own attorney’s fees and costs and expenses

  incurred by or on behalf of said party in connection with this action.


           So ORDERED and SIGNED this 1st day of February, 2010.




                                  __________________________________
                                  LEONARD DAVIS
                                  UNITED STATES DISTRICT JUDGE




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